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                                   No. 1:23-cv-00737
_____________________________________________________________________________________________

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
_____________________________________________________________________________________________

                     In re FTX TRADING LTD., et al., Debtors.
_____________________________________________________________________________________________

         ANDREW R. VARA, UNITED STATES TRUSTEE, Appellant,

                                             v.

                       FTX TRADING LTD. et al., Appellees.
_____________________________________________________________________________________________

     ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT
                FOR THE DISTRICT OF DELAWARE
_____________________________________________________________________________________________

                MOTION TO DISMISS APPEAL BY
      APPELLANT ANDREW R. VARA, UNITED STATES TRUSTEE
_____________________________________________________________________________________________

RAMONA D. ELLIOTT                              ANDREW R. VARA
Deputy Director/General Counsel                United States Trustee
P. MATTHEW SUTKO                                for Regions 3 & 9
Associate General Counsel                      JOSEPH J. MCMAHON, JR.
SUMI K. SAKATA                                 Assistant United States Trustee
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      The appellant, Andrew R. Vara, United States Trustee for Regions 3 and 9,

filed a notice of appeal in the bankruptcy court on July 6, 2023. The appeal was

docketed in this Court on July 7, 2023.

      Andrew R. Vara, United States Trustee, hereby moves this Court under Rule

8023 of the Rules of Bankruptcy Procedure to dismiss this appeal. Counsel for

appellees FTX Trading Ltd. and the Official Committee of Unsecured Creditors

have been contacted about whether they would consent to the United States

Trustee’s voluntary dismissal of this appeal but have not yet responded as of the

filing of this motion.

                                      Respectfully submitted,

                                      ANDREW R. VARA
                                      United States Trustee for Regions 3 & 9
August 18, 2023

                                      By /s/ Sumi Sakata
                                             SUMI SAKATA
                                             Trial Attorney

 RAMONA D. ELLIOTT                            ANDREW R. VARA
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                     CERTIFICATE OF COMPLIANCE


The foregoing complies with Federal Rule of Bankruptcy Procedure 8013(f) and

this Court’s Standing Order Regarding Briefing in All Cases because it contains

103 words and was prepared in 14-point Times New Roman font.



                                      By /s/ Sumi Sakata
                                             SUMI SAKATA
                                             Trial Attorney
